           Case 1:16-cr-00151-DAD-BAM Document 25 Filed 10/07/16 Page 1 of 3

 1 PHILLIP A. TALBERT
   Acting United States Attorney
 2 BRIAN K. DELANEY
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                          CASE NO. 1:16-CR-151 DAD-BAM (003)
11
                                  Plaintiff,            STIPULATION AND [PROPOSED] PROTECTIVE
12                                                      ORDER BETWEEN THE UNITED STATES AND
                            v.                          DEFENDANT DANIEL HARTE
13
     LYNNSI MARGUERITE DUNBAR,
14   KYE AARON DUNBAR and
     DANIEL HARTE,
15
                                 Defendant.
16

17

18          WHEREAS, the discovery in this case is voluminous and contains a large amount of personal

19 information including but not limited to Social Security numbers, dates of birth, driver’s license

20 numbers, bank account numbers, telephone numbers, and residential addresses (“Protected

21 Information”); and

22          WHEREAS, the parties desire to avoid both the necessity of large scale redactions and the

23 unauthorized disclosure or dissemination of this information to anyone not a party to the court

24 proceedings in this matter;

25          WHEREAS, the parties agree that entry of a stipulated protective order is appropriate.

26          NOW, THEREFORE, defendant DANIEL HARTE, by and through his counsel of record

27 (“Defense Counsel”), and plaintiff the United States of America, by and through its counsel of record,

28 hereby agree and stipulate as follows:



30
           Case 1:16-cr-00151-DAD-BAM Document 25 Filed 10/07/16 Page 2 of 3

 1          1.      This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

 2 Criminal Procedure, and its general supervisory authority.

 3          2.      This Order pertains to all discovery provided to or made available to Defense Counsel as

 4 part of discovery in this case (hereafter, collectively known as “the discovery”).

 5          3.      By signing this Stipulation and Protective Order, Defense Counsel agrees not to share any

 6 documents that contain Protected Information with anyone other than Defense Counsel and defense

 7 investigators and support staff. Defense Counsel may permit a defendant to view unredacted documents

 8 in the presence of his attorney, defense investigators, and support staff. The parties agree that Defense

 9 Counsel, defense investigators, and support staff shall not allow defendant to copy Protected

10 Information contained in the discovery. The parties agree that Defense Counsel, defense investigators,

11 and support staff may provide the defendant with copies of documents from which Protected

12 Information has been redacted.

13          4.      The discovery and information therein may be used only in connection with the litigation

14 of this case and for no other purpose. The litigation of the case includes criminal defense in this matter,

15 as well as direct appeal, collateral writs and appeals, and collateral attack on priors.

16          5.      Defense Counsel will store the discovery in a secure place and will use reasonable care to

17 ensure that it is not disclosed to third persons in violation of this agreement.

18          6.      Defense Counsel shall be responsible for advising the defendant, defense investigators,

19 and support staff of the contents of this Stipulation and Order.

20 / / /

21 / / /

22 / / /

23 / / /

24 / / /

25 / / /

26 / / /
27 / / /

28 / / /



30
           Case 1:16-cr-00151-DAD-BAM Document 25 Filed 10/07/16 Page 3 of 3

 1          7.      In the event that defendant substitutes counsel or is appointed or retains new or substitute

 2 counsel for criminal defense, direct appeal, collateral writ or appeal, or a collateral attack on priors, the

 3 undersigned Defense Counsel agrees to withhold discovery from the new or substituted counsel unless

 4 and until that counsel agrees also to be bound by this Order.

 5

 6          IT IS SO STIPULATED.

 7 Dated: October 4, 2016                                   PHILLIP A. TALBERT
                                                            Acting United States Attorney
 8

 9                                                    By: /s/ BRIAN K. DELANEY
                                                          BRIAN K. DELANEY
10                                                        Assistant United States Attorney
11

12
      Dated: October _4, 2016                               _/s/ Richard M. Oberto________
13                                                         RICHARD M. OBERTO
                                                           Attorney for Defendant
14                                                         DANIEL HARTE
15

16

17                                                    ORDER
18
     IT IS SO ORDERED.
19

20      Dated:     October 7, 2016                             /s/ Barbara A. McAuliffe               _
                                                        UNITED STATES MAGISTRATE JUDGE
21

22

23

24

25

26
27

28



30
